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                       UNITED STATES DISTRICT COURT

                        MIDDLE DISTRICT OF LOUISIANA


STEPHEN M. GRUVER and RAE ANN           :    CIVIL ACTION NO. 18-772-SDD-EWD
GRUVER, individually and on behalf of   :
MAXWELL R. GRUVER, deceased             :
                                        :
vs                                      :   JUDGE SHELLY D. DICK
                                        :
STATE OF LOUISIANA through the          :
Board of Supervisors of Louisiana State :   MAGISTRATE JUDGE ERIN
University and Agricultural and         :   WILDER-DOOMES
Mechanical College, et al.              :




                                     ORDER




      Considering the foregoing, CONSENT MOTION TO SET ASIDE CLERK’S ENTRY
OF DEFAULT AND WITHDRAWAL OF MOTION TO DISMISS PURSUANT TO FRCP
12(B)(6) ON BEHALF OF DALTIN BABINEAUX, it is consented by DALTIN W.
BABINEAUX and STEPHEN M. GRUVER AND RAE ANN GRUVER, individually and
on behalf of MAXWELL R. GRUVER, deceased, to set aside the CLERK’S ENTRY OF
DEFAULT (Doc. 185), entered February 13th, 2020, pursuant to Rule 55(c) and Local
Rule 7(c). Additionally, Defendant, DALTIN BABINEAUX respectfully requests that his
MOTION TO DISMISS PURSUANT TO FRCP 12(B)(6) and attached memorandum
(Doc.186, et seq.) be withdrawn from consideration, and accordingly,

      IT IS ORDERED that:

   1) The CLERK’S ENTRY OF DEFAULT (Doc. 185), entered February 13th, 2020, be

      set aside;

   2) The MOTION TO DISMISS PURSUANT TO FRCP 12(B)(6) and attached

      memorandum (Doc.186, et seq.) be withdrawn from consideration; and
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3) Defendant, DALTIN W. BABINEAUX, be permitted an additional 21 days to file

   responsive pleadings to Plaintiffs’ FIRST AMENDED COMPLAINT (Doc. 141),

   commencing upon the day of signing of this Order.

                                 14th day of _________________,
   THUS DONE in Chambers on this _____         August           2020.



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                 ____________________________________
                      CHIEF JUDGE SHELLY D. DICK
                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF LOUISIANA
